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UN|TED STATES OF AMER|CA
P|aintiff

VS.
CR. NO. 04-2022‘| -D

A|V|AL|A L. MARCELLA,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SET'|`|NG

 

This cause was set for trial on the September, 2005 criminal rotation calendar.
Counsel for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
ieport Date of Tue_sglav. September 22l 2005l at 9:00 am., in Courtroom 3 9th Floor

 

of the Federal Bui|ding, l\/lemphis, TN.

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

lT ls so oRDERED thisQ?L day ofAugust, 2005.

  

  

N|CE B. D ALD
|TED STATES D|STRFCT JUDGE

This document entered on the docket sheet in compliance

with Hu|e 1ij ami/or 32(b) FRCrP on M____ §£ ?

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-20221 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

